Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                         Main Document    Page 1 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                         Main Document    Page 2 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                         Main Document    Page 3 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                         Main Document    Page 4 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                         Main Document    Page 5 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                         Main Document    Page 6 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                         Main Document    Page 7 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                         Main Document    Page 8 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                         Main Document    Page 9 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 10 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 11 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 12 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 13 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 14 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 15 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 16 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 17 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 18 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 19 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 20 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 21 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 22 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 23 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 24 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 25 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 26 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 27 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 28 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 29 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 30 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 31 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 32 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 33 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 34 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 35 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 36 of 37
Case 9:20-bk-11072-DS   Doc 201 Filed 04/16/21 Entered 04/16/21 00:14:55   Desc
                        Main Document     Page 37 of 37
